      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 1 of 89




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION


IN RE GEORGIA SENATE BILL 202                Master Case No.:
                                             1:21-MI-55555-JPB



SIXTH DISTRICT OF THE AFRICAN
METHODIST EPISCOPAL CHURCH, a                Civil Action No.:
Georgia nonprofit organization, et al.,      1:21-CV-01284-JPB

               Plaintiffs,

                  v.

BRIAN KEMP, Governor of the State of
Georgia, in his official capacity, et al.,

               Defendants,

REPUBLICAN NATIONAL
COMMITTEE, et al.,

               Intervenor-Defendants.


                STATE DEFENDANTS’ ANSWER TO
            PLAINTIFFS’ FIRST AMENDED COMPLAINT
          Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 2 of 89




                                INTRODUCTION

      SB 202 updates Georgia’s reasonable, nondiscriminatory election rules

in response to lessons learned from challenges to the 2018 and 2020 elections.

And SB 202 provides procedural safeguards of the type necessary to restore

confidence in the integrity of Georgia elections for voters on all sides of the

political spectrum. The reforms are also designed to streamline the process of

conducting elections in Georgia and reduce the burdens on elections

officials. Contrary to the First Amended Complaint, SB 202 expands ballot

access beyond previous statutory limits.

      Ignoring this expanded access created by SB 202, the First Amended

Complaint asks the Court to make permanent various emergency practices

that were temporarily permitted by the State during the 2020 and 2021

elections due to the COVID-19 pandemic. Yet there is no basis to do so, as

Georgia’s election laws, as amended by SB 202, expand every voter’s access to

voting.

      Tellingly, the First Amended Complaint focuses largely on practices

most susceptible to abuse, such as the solicitation and harvesting of absentee

ballots, and claims that regulation of those practices is “discriminatory.” But

there is nothing discriminatory about restricting practices that are widely

recognized     to   undermine   ballot   integrity.   Moreover,   the   claim   of
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 3 of 89




discrimination rests on the false assumption that demographic groups

Plaintiffs claim to represent are either less competent or less honest than other

demographic groups in the Georgia electorate.

      Plaintiffs also complain about past long lines and polling place

closures. But those resulted from decisions in the Democrat-dominated

counties where those problems occurred and have nothing to do with SB 202’s

reforms, which are designed to reduce similar problems in the future.

      In short, Plaintiffs’ claims should be rejected because this Court’s role

“does not extend to second-guessing and interfering with a State’s reasonable,

nondiscriminatory election rules.” New Ga. Project v. Raffensperger, 976 F.3d

1278, 1284 (11th Cir. 2020). That is surely so when the alternative is judicial

enactment of Plaintiffs’ partisan policy goals.

                        AFFIRMATIVE DEFENSES

                         First Affirmative Defense

      Plaintiffs fail to state a claim upon which relief may be granted because,

among other things, SB 202 does not have a discriminatory purpose or intent.

                        Second Affirmative Defense

      Plaintiffs lack standing to bring this action.




                                        2
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 4 of 89




                         Third Affirmative Defense

      Plaintiffs’ claims are barred by sovereign immunity and the Eleventh

Amendment to the United States Constitution.

                        Fourth Affirmative Defense

      Plaintiffs have not been subjected to the deprivation of any right,

privilege, or immunity under the Constitution or laws of the United States.

                         Fifth Affirmative Defense

      Plaintiffs failed to join necessary and indispensable parties.

                         Sixth Affirmative Defense

      Plaintiffs’ requested relief is barred by the Purcell principle.

                       Seventh Affirmative Defense

      Plaintiffs’ Voting Rights Act Section 2 claims are barred because there is

no private right of action under Section 2.

                        Eighth Affirmative Defense

      State Defendants reserve the right to amend their defenses and to add

additional ones, including lack of subject matter jurisdiction based on the

mootness or ripeness doctrines, as further information becomes available in

discovery.




                                        3
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 5 of 89




                                 RESPONSES

      State Defendants respond to the separately numbered paragraphs and

prayer for relief contained in the First Amended Complaint below. To the

extent that any allegation is not expressly admitted herein, it is denied.

Moreover, to the extent that the First Amended Complaint refers to or quotes

from external documents, statutes, or other sources, State Defendants may

refer to such materials for their accurate and complete contents; however,

State Defendants’ references are not intended to be, and should not be

construed to be, an admission that the cited materials: (a) are correctly cited

or quoted by Plaintiffs; (b) are relevant to this, or any other, action; or (c) are

admissible in this, or any other, action.

      On those understandings, State Defendants answer as follows:

                              INTRODUCTION 1

      1.    Paragraph 1 contains Plaintiffs’ legal conclusions, not allegations

of fact, to which no response is required. By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and




1For ease of reference, State Defendants refer hereafter to Plaintiffs’ headings
and titles, but to the extent those headings and titles could be construed to
contain factual allegations, those allegations are denied.

                                        4
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 6 of 89




accurate statement of its contents and deny any allegations inconsistent

therewith.

      2.     State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

2 and deny them on that basis.

      3.     State Defendants admit the importance of the right to vote. By

way of further response, State Defendants aver that SB 202 was passed for the

purpose of protecting that important right.

      4.     State Defendants deny the allegations contained in Paragraph 4.

      5.     Paragraph 5 contains Plaintiffs’ characterization of population

data, not allegations of fact, to which no response is required. By way of further

response, State Defendants respectfully refer the Court to the relevant

population data for a full and accurate statement of their contents and deny

any allegation inconsistent therewith.

      6.     State Defendants deny the allegations contained in Paragraph 6.

      7.     State Defendants deny that there were barriers to vote in the 2020

General Election and 2021 Runoff Elections. State Defendants admit the

remaining allegations contained in Paragraph 7.

      8.     Paragraph 8 contains Plaintiffs’ characterization of voter turnout

data, not allegations of fact, to which no response is required. By way of further

                                         5
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 7 of 89




response, State Defendants respectfully refer the Court to the relevant turnout

data for a full and accurate statement of their contents and deny any

allegations inconsistent therewith.

      9.    Paragraph 9 contains Plaintiffs’ characterization of voter turnout

data, not allegations of fact, to which no response is required. By way of further

response, State Defendants respectfully refer the Court to the relevant turnout

data for a full and accurate statement of their contents and deny any

allegations inconsistent therewith.

      10.   State Defendants admit that the 2020 elections and 2021 runoff

elections took place in a global pandemic. This remaining allegations in

Paragraph 10 contain Plaintiffs’ characterization of voter turnout and

epidemiological data, not allegations of fact, to which no response is required.

By way of further response, State Defendants respectfully refer the Court to

the relevant turnout data for a full and accurate statement of their contents

and deny any allegations inconsistent therewith.

      11.   State Defendants deny the allegations contained in Paragraph 11.

      12.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

12 and deny them on that basis.




                                        6
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 8 of 89




      13.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

13 and deny them on that basis.

      14.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

14 and deny them on that basis.

      15.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

15 and deny them on that basis.

      16.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

16 and deny them on that basis.

      17.   State Defendants admit the allegations contained in Paragraph

17.

      18.   Paragraph     18   contains    Plaintiffs’   legal    conclusions   and

characterizations of election results, legal action, and uncited statements, not

allegations of fact, to which no response is required.           By way of further

response, Defendants respectfully refer the Court to the referenced election

results, legal actions, and statements for a full and accurate statement of their

outcomes and contents and deny any allegation inconsistent therewith.

                                       7
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 9 of 89




      19.   Paragraph 19 contains Plaintiffs’ characterization of voting

activity, not allegations of fact, to which no response is required. By way of

further response, State Defendants respectfully refer the Court to the voting

activity for a full and accurate description of its results and deny any

allegations inconsistent therewith.

      20.   State Defendants deny the allegations contained in Paragraph 20.

      21.   State Defendants deny the allegations contained in Paragraph 21.

      22.   State Defendants deny the allegations contained in Paragraph 22

and further state that the provisions of SB 202 speak for themselves.

      23.   State Defendants deny the allegations contained in the first two

sentence of Paragraph 23. State Defendants lack sufficient knowledge or

information with which to form a belief as to the truth of the remaining

allegations contained in this paragraph and deny them on that basis.

      24.   State Defendants deny the allegations contained in the first two

sentences of Paragraph 24. State Defendants lack sufficient knowledge or

information with which to form a belief as to the truth of the remaining

allegations contained in this paragraph and deny them on that basis.

      25.   State Defendants deny the allegations contained in Paragraph 25.




                                      8
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 10 of 89




      26.   Paragraph 26 contains Plaintiffs’ legal conclusions, not allegations

of fact, to which no response is required. To the extent a response is deemed

necessary, State Defendants deny the allegations contained in this paragraph.

       27. Paragraph 27 contains Plaintiffs’ legal conclusions, not allegations

 of fact, to which no response is required. To the extent a response is deemed

 necessary, State Defendants deny the allegations contained in this

 paragraph.

       28. Paragraph 28 contains Plaintiffs’ legal conclusions, not allegations

 of fact, to which no response is required. To the extent a response is deemed

 necessary, State Defendants deny the allegations contained in this

 paragraph.

      29.   Paragraph 29 contains Plaintiffs’ legal conclusions, not allegations

of fact, to which no response is required. State Defendants deny the remaining

allegations in this paragraph.

      30.   Paragraph    30      contains   Plaintiffs’   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required. By way of further response, State Defendants respectfully refer the

Court to the cited authority for a full and accurate statement of their contents

and deny any allegations inconsistent therewith.




                                        9
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 11 of 89




      31.   Paragraph 31 contains Plaintiffs’ legal conclusions, not allegations

of fact, to which no response is required. To the extent a response is deemed

necessary, State Defendants deny the allegations contained in this paragraph.

                                  PARTIES

                                  Plaintiffs

      32.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

32 and deny them on that basis.

      33.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

33 and deny them on that basis.

      34.   State Defendants deny the allegations contained in Paragraph 34.

      35.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

35 and deny them on that basis.

      36.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

36 and deny them on that basis.




                                      10
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 12 of 89




      37.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

37 and deny them on that basis.

      38.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

38 and deny them on that basis.

      39.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

39 and deny them on that basis.

      40.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

40 and deny them on that basis.

      41.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

41 and deny them on that basis.

      42.   State Defendants deny the allegations regarding the effects of SB

202. State Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations contained in

Paragraph 42 and deny them on that basis.




                                      11
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 13 of 89




      43.   State Defendants deny the allegations regarding the effects of SB

202. State Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations contained in

Paragraph 43 and deny them on that basis.

      44.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

44 and deny them on that basis.

      45.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

45 and deny them on that basis.

      46.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

46 and deny them on that basis.

      47.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

47 and deny them on that basis.

      48.   State Defendants deny the allegations regarding the effects of SB

202. State Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations contained in

Paragraph 48 and deny them on that basis.

                                      12
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 14 of 89




      49.   State Defendants deny the allegations regarding the effects of SB

202. State Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations contained in

Paragraph 49 and deny them on that basis.

      50.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

50 and deny them on that basis.

      51.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

51 and deny them on that basis.

      52.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

52 and deny them on that basis.

      53.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

53 and deny them on that basis.

      54.   State Defendants deny the allegations regarding the effects of SB

202. State Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations contained in

Paragraph 54 and deny them on that basis.

                                      13
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 15 of 89




      55.   State Defendants deny the allegations regarding the effects of SB

202. State Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations contained in

Paragraph 55 and deny them on that basis.

      56.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

56 and deny them on that basis.

      57.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

57 and deny them on that basis.

      58.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

58 and deny them on that basis.

      59.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

59 and deny them on that basis.

      60.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

60 and deny them on that basis.




                                      14
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 16 of 89




      61.   State Defendants deny the allegations regarding the effects of SB

202. State Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations contained in

Paragraph 61 and deny them on that basis.

      62.   State Defendants deny the allegations regarding the effects of SB

202. State Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations contained in

Paragraph 62 and deny them on that basis.

      63.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

63 and deny them on that basis.

      64.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

64 and deny them on that basis.

      65.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

65 and deny them on that basis.

      66.   State Defendants deny the allegations regarding the effects of SB

202. State Defendants lack sufficient knowledge or information with which to




                                      15
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 17 of 89




form a belief as to the truth of the remaining allegations contained in

Paragraph 66 and deny them on that basis.

      67.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

67 and deny them on that basis.

      68.   State Defendants deny the allegations regarding the effects of SB

202. State Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations contained in

Paragraph 68 and deny them on that basis.

      69.   State Defendants deny the allegations regarding the effects of SB

202. State Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations contained in

Paragraph 69 and deny them on that basis.

      70.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

70 and deny them on that basis.

      71.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

71 and deny them on that basis.




                                      16
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 18 of 89




      72.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

72 and deny them on that basis.

      73.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

73 and deny them on that basis.

      74.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

74 and deny them on that basis.

      75.   State Defendants deny the allegations regarding the effects of SB

202. State Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations contained in

Paragraph 75 and deny them on that basis.

      76.   State Defendants deny the allegations regarding the effects of SB

202. State Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations contained in

Paragraph 76 and deny them on that basis.

      77.   State Defendants deny the allegations regarding the effects of SB

202. State Defendants lack sufficient knowledge or information with which to




                                      17
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 19 of 89




form a belief as to the truth of the remaining allegations contained in

Paragraph 77 and deny them on that basis.

      78.   State Defendants deny the allegations regarding the effects of SB

202. State Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations contained in

Paragraph 78 and deny them on that basis.

      79.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

79 and deny them on that basis.

      80.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

80 and deny them on that basis.

      81.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

81 and deny them on that basis.

      82.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

82 and deny them on that basis.

      83.   State Defendants deny the allegations regarding the effects of SB

202. State Defendants lack sufficient knowledge or information with which to

                                      18
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 20 of 89




form a belief as to the truth of the remaining allegations contained in

Paragraph 83 and deny them on that basis.

      84.   State Defendants deny the allegations regarding the effects of SB

202. State Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations contained in

Paragraph 84 and deny them on that basis.

      85.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

85 and deny them on that basis.

      86.   State Defendants deny the allegations regarding the effects of SB

202. State Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations contained in

Paragraph 86 and deny them on that basis.

      87.   State Defendants deny the allegations regarding the effects of SB

202. State Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations contained in

Paragraph 87 and deny them on that basis.

      88.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

88 and deny them on that basis.

                                      19
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 21 of 89




      89.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

89 and deny them on that basis.

      90.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

90 and deny them on that basis.

      91.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

91 and deny them on that basis.

      92.   State Defendants deny the allegations regarding the effects of SB

202. State Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations contained in

Paragraph 92 and deny them on that basis.

                                  Defendants

      93.   State Defendants admit the allegations contained in Paragraph

93.

      94.   State Defendants admit that Brad Raffensperger is the Secretary

of State, that his office issues non-binding guidance to county election officials,

and that he is named in his official capacity. The remaining allegations are




                                        20
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 22 of 89




legal conclusions to which no response is required, and State Defendants deny

all remaining allegations in Paragraph 94.

      95.     State Defendants admit the allegations contained in Paragraph

95.   By way of further response, State Defendants aver that local county

election officials are responsible for implementing many election statutes and

procedures.

      96.     State Defendants admit the allegations contained in Paragraph

96, except that the current members of the State Election Board are Sara

Tindall Ghazal, Janice Johnston, Edward Lindsey, and Matthew Mashburn.

Because this is an official-capacity suit, they are automatically substituted.

      97.     State Defendants admit that the Fulton County Board of

Registration and Elections is responsible for the administration of elections in

Fulton County.      The remaining allegations in Paragraph 97 are legal

conclusions to which no response is required. By way of further response, State

Defendants respectfully refer the Court to the relevant statutes for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

      98.     This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in Paragraph 98.

                                       21
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 23 of 89




      99.    This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in Paragraph 99 and deny them on that basis. The

remaining allegations are legal conclusions to which no response is required.

By way of further response, State Defendants respectfully refer the Court to

the relevant statutes for a full and accurate statement of their contents and

deny any allegations inconsistent therewith.

      100. State Defendants admit that the DeKalb County Board of

Registration and Elections is responsible for the administration of elections in

DeKalb County.      The remaining allegations in Paragraph 100 are legal

conclusions to which no response is required. By way of further response, State

Defendants respectfully refer the Court to the relevant statutes for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

      101. This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in Paragraph 101. By way of further response,

Defendants

      102. This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

                                      22
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 24 of 89




of the allegations contained in Paragraph 102 and deny them on that basis.

The remaining allegations are legal conclusions to which no response is

required. By way of further response, State Defendants respectfully refer the

Court to the relevant statutes for a full and accurate statement of their

contents and deny any allegations inconsistent therewith.

      103. State Defendants admit that the Gwinnett County Board of

Registration and Elections is responsible for the administration of elections in

Gwinnett County.     The remaining allegations in Paragraph 103 are legal

conclusions to which no response is required. By way of further response, State

Defendants respectfully refer the Court to the relevant statutes for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

      104. This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in Paragraph 104.

      105. This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in Paragraph 105 and deny them on that basis.

The remaining allegations are legal conclusions to which no response is

required. By way of further response, State Defendants respectfully refer the

                                      23
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 25 of 89




Court to the relevant statutes for a full and accurate statement of their

contents and deny any allegations inconsistent therewith.

      106. State Defendants admit that the Cobb County Board of Elections

and Registration is responsible for the administration of elections in Cobb

County. The remaining allegations in Paragraph 106 are legal conclusions to

which no response is required. By way of further response, State Defendants

respectfully refer the Court to the relevant statutes for a full and accurate

statement of their contents and deny any allegations inconsistent therewith.

      107. This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in Paragraph 107.

      108. This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in Paragraph 108 and deny them on that basis.

The remaining allegations are legal conclusions to which no response is

required. By way of further response, State Defendants respectfully refer the

Court to the relevant statutes for a full and accurate statement of their

contents and deny any allegations inconsistent therewith.

      109. State Defendants admit that the Hall County Board of Elections

and Registration is responsible for the administration of elections in Hall

                                      24
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 26 of 89




County. The remaining allegations in Paragraph 109 are legal conclusions to

which no response is required. By way of further response, State Defendants

respectfully refer the Court to the relevant statutes for a full and accurate

statement of their contents and deny any allegations inconsistent therewith.

      110. This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in Paragraph 110.

      111. This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in Paragraph 111 and deny them on that basis.

The remaining allegations are legal conclusions to which no response is

required. By way of further response, State Defendants respectfully refer the

Court to the relevant statutes for a full and accurate statement of their

contents and deny any allegations inconsistent therewith.

      112. State Defendants admit that the Clayton County Board of

Elections and Registration is responsible for the administration of elections in

Clayton County.     The remaining allegations in Paragraph 112 are legal

conclusions to which no response is required. By way of further response, State

Defendants respectfully refer the Court to the relevant statutes for a full and




                                      25
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 27 of 89




accurate statement of their contents and deny any allegations inconsistent

therewith.

      113. This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in Paragraph 113.

      114. This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in Paragraph 114 and deny them on that basis.

The remaining allegations are legal conclusions to which no response is

required. By way of further response, State Defendants respectfully refer the

Court to the relevant statutes for a full and accurate statement of their

contents and deny any allegations inconsistent therewith.

      115. State Defendants admit that the Richmond County Board of

Elections is responsible for the administration of elections in Richmond

County. The remaining allegations in Paragraph 115 are legal conclusions to

which no response is required. By way of further response, State Defendants

respectfully refer the Court to the relevant statutes for a full and accurate

statement of their contents and deny any allegations inconsistent therewith.




                                      26
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 28 of 89




      116. This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in Paragraph 116.

      117. This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in Paragraph 117 and deny them on that basis.

The remaining allegations are legal conclusions to which no response is

required. By way of further response, State Defendants respectfully refer the

Court to the relevant statutes for a full and accurate statement of their

contents and deny any allegations inconsistent therewith.

      118. State Defendants admit that the Bibb County Board of Elections

is responsible for the administration of elections in Bibb County.         The

remaining allegations in Paragraph 118 are legal conclusions to which no

response is required. By way of further response, State Defendants respectfully

refer the Court to the relevant statutes for a full and accurate statement of

their contents and deny any allegations inconsistent therewith.

      119. This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in Paragraph 119.




                                      27
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 29 of 89




       120. This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in Paragraph 120 and deny them on that basis.

The remaining allegations are legal conclusions to which no response is

required. By way of further response, State Defendants respectfully refer the

Court to the relevant statutes for a full and accurate statement of their

contents and deny any allegations inconsistent therewith.

       121. State Defendants admit the allegations contained in Paragraph

121.

       122. State Defendants admit the allegations contained in Paragraph

122.

       123. State Defendants admit that the Chatham County Board of

Elections is responsible for the administration of elections in Chatham County.

The remaining allegations in Paragraph 123 are legal conclusions to which no

response is required. By way of further response, State Defendants respectfully

refer the Court to the relevant statutes for a full and accurate statement of

their contents and deny any allegations inconsistent therewith.

       124. This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in Paragraph 124.

                                      28
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 30 of 89




       125. State Defendants admit the allegations contained in Paragraph

125.

       126. This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in Paragraph 126.

       127. State Defendants admit that the Clarke County Board of Elections

and Registration is responsible for the administration of elections in Clarke

County. The remaining allegations in Paragraph 127 are legal conclusions to

which no response is required. By way of further response, State Defendants

respectfully refer the Court to the relevant statutes for a full and accurate

statement of their contents and deny any allegations inconsistent therewith.

       128. This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in Paragraph 128.

       129. This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in Paragraph 129 and deny them on that basis.

The remaining allegations are legal conclusions to which no response is

required. By way of further response, State Defendants respectfully refer the




                                      29
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 31 of 89




Court to the relevant statutes for a full and accurate statement of their

contents and deny any allegations inconsistent therewith.

       130. State Defendants admit that the Columbia County Board of

Elections is responsible for the administration of elections in Columbia County.

The remaining allegations in Paragraph 130 are legal conclusions to which no

response is required. By way of further response, State Defendants respectfully

refer the Court to the relevant statutes for a full and accurate statement of

their contents and deny any allegations inconsistent therewith.

       131. This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in Paragraph 131.

       132. State Defendants admit the allegations contained in Paragraph

132.

       133. This answer is filed on behalf of the State Defendants, who lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in Paragraph 133.

                       JURISDICTION AND VENUE

       134. State Defendants admit that this Court has federal-question

jurisdiction for claims arising under the Voting Rights Act. State Defendants

deny the remaining allegations in Paragraph 134.

                                      30
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 32 of 89




      135. Paragraph 135 sets forth legal conclusions to which no response is

required, and State Defendants therefore deny them. State Defendants deny

the remaining allegations in this Paragraph.

      136. Paragraph 136 sets forth legal conclusions to which no response is

required, and State Defendants therefore deny them. State Defendants deny

the remaining allegations in this Paragraph.

      137. State Defendants admit the allegations in Paragraph 137.

      138. To the extent the Court has jurisdiction over this matter, State

Defendants admit that venue is proper in this Court. State Defendants deny

the remaining allegations in Paragraph 138.

                        FACTUAL ALLEGATIONS

      A.     Georgia has a long history and ongoing record of racial
             discrimination in voting.

      139. State Defendants deny the allegations contained in the first

sentence of Paragraph 139. The remaining portions of this paragraph contain

Plaintiffs’ legal conclusions and characterization of SB 202, not allegations of

fact, to which no response is required. By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.



                                      31
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 33 of 89




      140. Paragraph 140 contains Plaintiffs’ characterization of historical

events, not allegations of fact, to which no response is required. By way of

further response, State Defendants admit that events have occurred in the

State previously that have harmed racial minorities. But State Defendants

deny any implication that these events are relevant to the claims brought in

this action.

      141. State Defendants admit the allegations contained in Paragraph

141 but deny any implication that these events are relevant to the claims

brought in this action.

      142. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegation that certain electoral

results in the 1800s were “due primarily to the support of Black voters.” State

Defendants admit the remaining allegations contained in Paragraph 142 but

deny any implication that these events are relevant to the claims brought in

this action.

      143. Paragraph 143 contains Plaintiffs’ characterization of historical

events, not allegations of fact, to which no response is required. By way of

further response, State Defendants admit that events have occurred in the

State previously that have harmed racial minorities. But State Defendants




                                      32
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 34 of 89




deny any implication that these events are relevant to the claims brought in

this action.

      144. Paragraph 144 contains Plaintiffs’ characterization of historical

events, not allegations of fact, to which no response is required. By way of

further response, State Defendants admit that events have occurred in the

State previously that have harmed racial minorities. But State Defendants

deny any implication that these events are relevant to the claims brought in

this action.

      145. Paragraph 145 contains Plaintiffs’ characterization of historical

events, not allegations of fact, to which no response is required. By way of

further response, State Defendants admit that events have occurred in the

State previously that have harmed racial minorities. But State Defendants

deny any implication that these events are relevant to the claims brought in

this action.

      146. Paragraph 146 contains Plaintiffs’ characterization of historical

events, not allegations of fact, to which no response is required. By way of

further response, State Defendants admit that events have occurred in the

State previously that have harmed racial minorities. But State Defendants

deny any implication that these events are relevant to the claims brought in

this action.

                                     33
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 35 of 89




      147. Paragraph 147 contains Plaintiffs’ characterization of historical

events, not allegations of fact, to which no response is required. By way of

further response, State Defendants admit that events have occurred in the

State previously that have harmed racial minorities. But State Defendants

deny any implication that these events are relevant to the claims brought in

this action.

      148. Paragraph 148 contains Plaintiffs’ characterization of historical

events, not allegations of fact, to which no response is required. By way of

further response, State Defendants admit that events have occurred in the

State previously that have harmed racial minorities. But State Defendants

deny any implication that these events are relevant to the claims brought in

this action.

      149. Paragraph 149 contains Plaintiffs’ characterization of a legal

action, not allegations of fact, to which no response is required. By way of

further response, State Defendants respectfully refer the Court to the cited

legal action for a full and accurate statement of its contents and deny any

allegations inconsistent therewith.

      150. Paragraph 150 contains Plaintiffs’ characterization of the cited

report, not allegations of fact, to which no response is required. By way of

further response, State Defendants respectfully refer the Court to the cited

                                      34
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 36 of 89




report for a full and accurate statement of their contents and deny any

allegations inconsistent therewith.

      151. Paragraph      151   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

      152. Paragraph      152   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

State Defendants further state that the cited objections include actions by

counties unrelated to the actions of the State.

      153. The first sentence of Paragraph 153 contains Plaintiffs’ legal

conclusions, not allegations of fact, to which no response is required and is

denied on that basis. State Defendants deny the remaining allegations in this

paragraph.

      154. The first sentence of Paragraph 154 contains Plaintiffs’ legal

conclusions, not allegations of fact, to which no response is required and is

denied on that basis. The remainder of this paragraph contains Plaintiffs’

characterization of the cited statement, not allegations of fact, to which no

response is required.      By way of further response, State Defendants

respectfully refer the Court to the cited statement for a full and accurate

statement of their contents and deny any allegations inconsistent therewith.




                                       35
         Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 37 of 89




         155. State Defendants deny the allegations contained in the first

sentence of Paragraph 155.       The remaining allegations of this paragraph

contain Plaintiffs’ legal conclusions, not allegations of fact, to which no

response is required and is denied on that basis. By way of further response,

State Defendants respectfully refer the Court to the cited report for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

         156. The State Defendants deny the allegations contained in Paragraph

156.

         157. The first sentence of Paragraph 157 contains Plaintiffs’ legal

conclusions, not allegations of fact, to which no response is required and is

denied on that basis.        State Defendants lack sufficient knowledge or

information with which to form a belief as to the truth of the allegations

contained in the remaining portions of this paragraph and deny them on that

basis.

         158. State Defendants deny the allegations contained in the first

sentence of Paragraph 158. The second sentence contains Plaintiffs’ legal

conclusions, not allegations of fact, to which no response is required. The third

sentence contains Plaintiffs’ characterization of voter data, not allegations of

fact, to which no response is required. By way of further response, State

                                       36
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 38 of 89




Defendants respectfully refer the Court to the cited data for a full and accurate

statement of their contents and deny any allegations inconsistent therewith.

The State Defendants deny the allegations contained in the fourth sentence of

this paragraph, and lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations contained in this

paragraph and deny them on that basis.

       159. The first sentence of Paragraph 159 contains Plaintiffs’ legal

conclusions, not allegations of fact, to which no response is required. State

Defendants lack sufficient knowledge or information with which to form a

belief as to the truth of the remaining allegations contained in this paragraph

and deny them on that basis.

       160. State Defendants deny the allegations contained in Paragraph

160.

       161. Paragraph 161 contains Plaintiffs’ characterization of voter data

and press reports, as well as legal conclusions, not allegations of fact, to which

no response is required and deny them on that basis. By way of further

response, State Defendants respectfully refer the Court to the cited material

for a full and accurate statement of its contents and deny any allegations

inconsistent therewith.




                                       37
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 39 of 89




      162. State Defendants deny the allegations contained in the first

sentence of Paragraph 162. The remainder of this paragraph contains

Plaintiffs’ characterization of voter data and the cited report, not allegations of

fact, to which no response is required. By way of further response, State

Defendants respectfully refer the Court to the cited material for a full and

accurate statement of its contents and deny any allegations inconsistent

therewith.

      163. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

163 and deny them on that basis.

      164. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

164 and deny them on that basis.

      165. Paragraph       165    contains    Plaintiffs’   characterization     of

investigations and legal actions, not allegations of fact, to which no response is

required and is denied on that basis.        By way of further response, State

Defendants respectfully refer the Court to the cited legal actions for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.    State Defendants deny the remaining allegations in this

paragraph.

                                        38
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 40 of 89




      166. Paragraph       166    contains    Plaintiffs’   characterization    of

investigations and legal actions, not allegations of fact, to which no response is

required and is denied on that basis.        By way of further response, State

Defendants respectfully refer the Court to the cited legal actions for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

      167. State Defendants admit the allegations contained in the first

sentence of Paragraph 167, and deny the allegations contained in the final

sentence of this paragraph. The remaining portions of this paragraph contain

legal conclusions, not allegations of fact, to which no response is required. By

way of further response, State Defendants respectfully refer the Court to the

cited statutes for a full and accurate statement of their contents and deny any

allegations inconsistent therewith.

      168. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in the first

sentence of Paragraph 168 and deny them on that basis.           The remaining

portions of this paragraph contain Plaintiffs’ legal conclusions, not allegations

of fact, to which no response is required.

      169. The first sentence of Paragraph 169 contains Plaintiffs’ legal

conclusions, not allegations of fact, to which no response is required and is

                                       39
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 41 of 89




denied on that basis.     The remaining portions of this paragraph contain

Plaintiffs’ characterization of an uncited statement, not allegations of fact, to

which no response is required. By way of further response, State Defendants

respectfully refer the Court to the cited statement for a full and accurate

statement of its contents and deny any allegations inconsistent therewith.

      170. Paragraph      170   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

      171. Paragraph 171 contains Plaintiffs’ characterization of legislative

history, not allegations of fact, to which no response is required and is denied

on that basis. By way of further response, State Defendants respectfully refer

the Court to the cited legislative history for a full and accurate statement of

their contents and deny any allegations inconsistent therewith.

      172. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

172 and deny them on that basis.

      173. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

173 and deny them on that basis.




                                       40
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 42 of 89




      174. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

174 and deny them on that basis.

      175. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

175 and deny them on that basis.

      176. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

176 and deny them on that basis.

      177. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

177 and deny them on that basis.

      178. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

178 and deny them on that basis.

      179. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

179 and deny them on that basis.




                                      41
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 43 of 89




      180. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

180 and deny them on that basis.

      181. State Defendants deny the allegations contained in the first

sentence of Paragraph 181.       The remainder of this paragraph contains

Plaintiffs’ characterization of legal action, not allegations of fact, to which no

response is required.      By way of further response, State Defendants

respectfully refer the Court to the cited legal actions for a full and accurate

statement of their contents and deny any allegations inconsistent therewith.

      B.    Georgians with disabilities have also                  experienced
            historical and widespread discrimination

      182. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

182 and deny them on that basis.

      183. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

183 and deny them on that basis.

      184. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

184 and deny them on that basis.



                                       42
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 44 of 89




      185. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

185 and deny them on that basis.

      186. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

186 and deny them on that basis. State Defendants further state that county

election officials are responsible for the location and layout of voting precincts.

      187. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

187 and deny them on that basis.

      188. State Defendants deny the allegations contained in the second

sentence of Paragraph 188. State Defendants lack sufficient knowledge or

information with which to form a belief as to the truth of the remaining

allegations contained in this paragraph and deny them on that basis.

      189. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

189 and deny them on that basis.

      190. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in the first

and last sentences of Paragraph 190 and deny them on that basis.              The

                                        43
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 45 of 89




remainder of this paragraph contains Plaintiffs’ legal conclusions, not

allegations of fact, to which no response is required.

       191. State Defendants deny the allegations contained in Paragraph

191.

       192. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

192 and deny them on that basis.

       193. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

193 and deny them on that basis.

       C.   Georgia has an increasing number of voters of color.

       194. State Defendants deny that there are discriminatory provisions in

Georgia law. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the remaining allegations contained in

Paragraph 194 and deny them on that basis.

       195. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

195 and deny them on that basis. By way of further response, State Defendants

respectfully refer the Court to the cited data for a full and accurate statement

of its contents and deny any allegations inconsistent therewith.

                                       44
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 46 of 89




      196. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

196. By way of further response, State Defendants respectfully refer the Court

to the cited data for a full and accurate statement of its contents and deny any

allegations inconsistent therewith.

      197. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

197. By way of further response, State Defendants respectfully refer the Court

to the cited data for a full and accurate statement of its contents and deny any

allegations inconsistent therewith.

      198. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

198. By way of further response, State Defendants respectfully refer the Court

to the cited data for a full and accurate statement of its contents and deny any

allegations inconsistent therewith.

      199. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

199. By way of further response, State Defendants respectfully refer the Court

to the cited data for a full and accurate statement of its contents and deny any

allegations inconsistent therewith.

                                      45
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 47 of 89




       200. Paragraph 200 contains Plaintiffs’ characterization of survey data,

not allegations of fact, to which no response is required. By way of further

response, State Defendants respectfully refer the Court to the cited data for a

full and accurate statement of their contents and deny any allegations

inconsistent therewith.

       201. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

201 and deny them on that basis.

       202. Paragraph 202 contains Plaintiffs’ characterization of survey data,

not allegations of fact, to which no response is required. By way of further

response, State Defendants respectfully refer the Court to the cited data for a

full and accurate statement of their contents and deny any allegations

inconsistent therewith.

       203. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

203.

       204. Paragraph 204 contains Plaintiffs’ characterization of survey data,

not allegations of fact, to which no response is required. By way of further

response, State Defendants respectfully refer the Court to the cited data for a




                                      46
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 48 of 89




full and accurate statement of their contents and deny any allegations

inconsistent therewith.

      205. State Defendants admit the allegations included in the final

sentence of Paragraph 205. State Defendants lack sufficient knowledge or

information with which to form a belief as to the truth of the allegations

contained in this paragraph and deny them on that basis.

      206. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

206 and deny them on that basis.

      D. Black voter participation reached historic levels in the 2020
      primary election, General Election, and the Runoff Elections.

      207. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

207 and deny them on that basis.

      208. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

208 and deny them on that basis.

      209. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

209 and deny them on that basis.



                                      47
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 49 of 89




      210. State Defendants admit that turnout was record-setting for the

2020 election cycle. State Defendants lack sufficient knowledge or information

with which to form a belief as to the truth of the remaining allegations

contained in Paragraph 210 and deny them on that basis. By way of further

response, State Defendants respectfully refer the Court to the cited data for a

full and accurate statement of their contents and deny any allegations

inconsistent therewith.

      211. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

211. By way of further response, State Defendants respectfully refer the Court

to the cited data for a full and accurate statement of their contents and deny

any allegations inconsistent therewith.

      212. State Defendants admit that more than 1.3 million absentee

ballots were cast in the 2020 General Election. State Defendants lack sufficient

knowledge or information with which to form a belief as to the truth of the

remaining allegations contained in Paragraph 212. By way of further response,

State Defendants respectfully refer the Court to the cited data for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.




                                      48
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 50 of 89




      213. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

213 and deny them on that basis.

      214. State Defendants admit that drop boxes were used in the 2020

election cycle in some counties under an emergency rule that has since expired.

State Defendants lack sufficient knowledge or information with which to form

a belief as to the truth of the remaining allegations contained in Paragraph

214. By way of further response, State Defendants respectfully refer the Court

to the cited data for a full and accurate statement of their contents and deny

any allegations inconsistent therewith.

      215. State Defendants admit the first three sentences of Paragraph

215. State Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations contained in this

paragraph.

      216. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

216 and deny them on that basis.

      217. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

217 and deny them on that basis.

                                      49
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 51 of 89




      218. State Defendants admit that President Biden won Georgia’s

electoral votes and that Senators Warnock and Ossoff were elected in runoff

elections. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the remaining allegations contained in

Paragraph 218.

      E.    The Georgia General Assembly passed S.B. 202 immediately
            following historic Black voter participation in the General
            Election and Runoff Elections, in a flawed and
            nontransparent process.

      219. State Defendants admit that the General Assembly passed SB 202

on March 25, 2021. State Defendants deny the remaining allegations contained

in Paragraph 219.

            1.    S.B. 202 was passed in a hostile, racially charged
                  environment following the General Election and
                  Runoff Elections

      220. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

220 and deny them on that basis.

      221. State Defendants admit that lawsuits were filed after the 2020

election and were unsuccessful in changing any election outcome. State

Defendants lack sufficient knowledge or information with which to form a




                                      50
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 52 of 89




belief as to the truth of the remaining allegations contained in Paragraph 221

and deny them on that basis.

      222. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

223 and deny them on that basis.

      223. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

223 and deny them on that basis.

      224. State Defendants admit that post-election litigation filed in 2020

was unsuccessful in changing election outcomes. The remaining allegations in

Paragraph 224 contain Plaintiffs’ characterization of the referenced legal

actions, not allegations of fact, to which no response is required. By way of

further response, State Defendants respectfully refer the Court to the cited

authority for a full and accurate statement of their contents and deny any

allegations inconsistent therewith.

      225. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

225. By way of further response, State Defendants respectfully refer the Court

to the cited report for a full and accurate statement of their contents and deny

any allegations inconsistent therewith.

                                      51
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 53 of 89




      226. State Defendants admit that Senators Ossoff and Warnock were

elected in runoff elections and admit that Speaker Ralston formed a Special

Committee on Election Integrity chaired by Rep. Barry Fleming, and that Rep.

Alan Powell was its vice chair. This remaining allegations in Paragraph 226

contain Plaintiffs’ characterization of SB 202, its timing, and its legislative

history, not allegations of fact, to which no response is required.

      227. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in the first

sentence of Paragraph 227. The remaining allegations in this paragraph

contain Plaintiffs’ legal conclusions and characterization of SB 202 and its

legislative history, not allegations of fact, to which no response is required.

      228. Paragraph 228 contains Plaintiffs’ characterization of the cited

statements. By way of further response, State Defendants respectfully refer

the Court to the cited statements for a full and accurate statement of their

contents and deny any allegations inconsistent therewith.

            2.     The Georgia General Assembly passed S.B. 202 with
                   little process or regard for the ideals of an open
                   democracy

      229. Paragraph 229 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required

and is denied on that basis. By way of further response, State Defendants

                                       52
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 54 of 89




respectfully refer the Court to the relevant committee rules and notices for a

full and accurate statement of its contents and deny any allegations

inconsistent therewith.

      230. Paragraph 230 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required

and is denied on that basis. By way of further response, State Defendants

respectfully refer the Court to the relevant committee rules and notices for a

full and accurate statement of its contents and deny any allegations

inconsistent therewith.

      231. Paragraph 231 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required

and is denied on that basis. By way of further response, State Defendants

respectfully refer the Court to the relevant committee rules and notices for a

full and accurate statement of its contents and deny any allegations

inconsistent therewith.

      232. Paragraph 232 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required

and is denied on that basis. By way of further response, State Defendants

respectfully refer the Court to the relevant committee rules and notices for a




                                       53
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 55 of 89




full and accurate statement of its contents and deny any allegations

inconsistent therewith.

      233. Paragraph 233 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required

and is denied on that basis. By way of further response, State Defendants

respectfully refer the Court to the relevant committee rules and notices for a

full and accurate statement of its contents and deny any allegations

inconsistent therewith.

      234. Paragraph 234 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required

and is denied on that basis. By way of further response, State Defendants

respectfully refer the Court to the relevant committee rules and notices for a

full and accurate statement of its contents and deny any allegations

inconsistent therewith.

      235. Paragraph 235 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required

and is denied on that basis. By way of further response, State Defendants

respectfully refer the Court to the relevant committee rules and notices for a

full and accurate statement of its contents and deny any allegations

inconsistent therewith.

                                       54
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 56 of 89




      236. Paragraph 236 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required

and is denied on that basis. By way of further response, State Defendants

respectfully refer the Court to the relevant committee rules and notices for a

full and accurate statement of its contents and deny any allegations

inconsistent therewith.

      237. Paragraph 237 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required

and is denied on that basis. By way of further response, State Defendants

respectfully refer the Court to the relevant committee rules and notices for a

full and accurate statement of its contents and deny any allegations

inconsistent therewith.

      238. Paragraph 238 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required

and is denied on that basis. By way of further response, State Defendants

respectfully refer the Court to the relevant committee rules and notices for a

full and accurate statement of its contents and deny any allegations

inconsistent therewith.

      239. Paragraph 239 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required

                                       55
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 57 of 89




and is denied on that basis. By way of further response, State Defendants

respectfully refer the Court to the relevant committee rules and notices for a

full and accurate statement of its contents and deny any allegations

inconsistent therewith.

      240. Paragraph 240 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required

and is denied on that basis. By way of further response, State Defendants

respectfully refer the Court to the relevant committee rules and notices for a

full and accurate statement of its contents and deny any allegations

inconsistent therewith.

      241. Paragraph 241 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required

and is denied on that basis. By way of further response, State Defendants

respectfully refer the Court to the relevant committee rules and notices for a

full and accurate statement of its contents and deny any allegations

inconsistent therewith.

      242. Paragraph 242 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required

and is denied on that basis. By way of further response, State Defendants




                                       56
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 58 of 89




respectfully refer the Court to the relevant statement for a full and accurate

statement of its contents and deny any allegations inconsistent therewith.

      243. Paragraph 243 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required

and is denied on that basis. By way of further response, State Defendants

respectfully refer the Court to the relevant floor debate and rules for a full and

accurate statement of its contents and deny any allegations inconsistent

therewith.

      244. State Defendants admit that Governor Kemp signed SB 202 on

March 25, 2021. The remaining allegations in Paragraph 244 contain

Plaintiffs’ characterization of SB 202 and its legislative history, not allegations

of fact, to which no response is required and is denied on that basis. By way of

further response, State Defendants respectfully refer the Court to the relevant

journals and records for a full and accurate statement of its contents and deny

any allegations inconsistent therewith.

      245. State Defendants admit that Rep. Cannon was removed from the

Capitol on March 25, 2021. The remaining allegations in Paragraph 245

contain Plaintiffs’ characterization of SB 202 and its legislative history, not

allegations of fact, to which no response is required and is denied on that basis.

By way of further response, State Defendants respectfully refer the Court to

                                        57
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 59 of 89




the relevant state records for a full and accurate statement of its contents and

deny any allegations inconsistent therewith.

      F.     The challenged provisions of S.B. 202 place limitations on
             opportunities for voters to exercise their right to vote.

             1.   Sections 20 & 26, mobile voting unit restrictions

      246. Paragraph 246 contains legal conclusions to which no response is

required and is denied on that basis.

      247. State Defendants admit that, during the 2020 elections, mobile

voting units were employed by one county, Fulton County, for the first time.

State Defendants lack sufficient knowledge or information with which to form

a belief as to the truth of the remaining allegations contained in Paragraph

247 and deny them on that basis.

      248. Paragraph     248   contains      Plaintiffs’   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required and is denied on that basis.        By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.




                                        58
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 60 of 89




             2.   Section 25, new identification requirements, timing
                  parameters, and wet signature requirements for
                  requesting an absentee ballot

     249. Paragraph     249   contains    Plaintiffs’   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required and is denied on that basis.     By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

     250. Paragraph     250   contains    Plaintiffs’   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required and is denied on that basis.     By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

     251. Paragraph     251   contains    Plaintiffs’   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required and is denied on that basis.     By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

                                     59
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 61 of 89




     252. Paragraph     252   contains    Plaintiffs’   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required and is denied on that basis.     By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

     253. Paragraph     253   contains    Plaintiffs’   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required and is denied on that basis.     By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

     254. Paragraph     254   contains    Plaintiffs’   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required and is denied on that basis.     By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.




                                     60
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 62 of 89




             3.   Sections 27 & 28, new identification requirements for
                  casting an absentee ballot

     255. Paragraph     255   contains    Plaintiffs’   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required and is denied on that basis.     By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

     256. Paragraph     256   contains    Plaintiffs’   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required and is denied on that basis.     By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

     257. Paragraph     257   contains    Plaintiffs’   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required and is denied on that basis.     By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.



                                     61
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 63 of 89




     258. Paragraph      258    contains   Plaintiffs’   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required and is denied on that basis.      By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

     259.    Paragraph    259   contains   Plaintiffs’   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required and is denied on that basis.      By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

                 4.      Section 26, secure drop box limitations

     260. State Defendants admit that during the COVID-19 pandemic,

some voters were able to use outdoor drop boxes to return their ballots under

emergency rules that have since expired. By way of further response, State

Defendants aver that SB 202 statutorily provided for drop boxes for the first

time. State Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations contained in

Paragraph 260 and they are denied on that basis.

                                      62
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 64 of 89




      261. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

261 and they are denied on that basis.

      262. State Defendants admit the allegations in Paragraph 262. By way

of further response, State Defendants respectfully refer the Court to the cited

authority for a full and accurate statement of its contents and deny any

allegations inconsistent therewith.

      263. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

263 and they are denied on that basis.

      264. Paragraph     264   contains    Plaintiffs’   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required and they are denied on that basis. By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

      265.   Paragraph   265   contains    Plaintiffs’   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required and they are denied on that basis. By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

                                      63
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 65 of 89




accurate statement of their contents and deny any allegations inconsistent

therewith.

     266.    Paragraph    266   contains   Plaintiffs’   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required and they are denied on that basis. By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

     267.    Paragraph    267   contains   Plaintiffs’   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required and they are denied on that basis. By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

                 5.      Section 28, runoff early voting restriction

     268.    Paragraph    268   contains   Plaintiffs’   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required and they are denied on that basis. By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and




                                      64
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 66 of 89




accurate statement of their contents and deny any allegations inconsistent

therewith.

                  6.     Section 33, Line Relief Ban

      269.   Paragraph    269   contains    Plaintiffs’   legal   conclusions    and

characterization of SB 202, not allegations of fact, to which no response is

required and they are denied on that basis. By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

      270.   Paragraph    270   contains    Plaintiffs’   legal   conclusions    and

characterization of SB 202, not allegations of fact, to which no response is

required and they are denied on that basis. By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

             7.   Sections 34 & 35, out-of-precinct provisional ballot

      271. Paragraph      271   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.




                                       65
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 67 of 89




       272. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

272 and they are denied on that basis.

       273. Paragraph     273   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and they are denied on that

basis. By way of further response, State Defendants respectfully refer the

Court to the cited authority for a full and accurate statement of their contents

and deny any allegations inconsistent therewith.

            8.    Section 47, felony punishment for acceptance of an
                  absentee ballot for delivery or return if not a family
                  member or caregiver

       274. Paragraph     274   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

By way of further response, State Defendants respectfully refer the Court to

the cited authority for a full and accurate statement of their contents and deny

any allegations inconsistent therewith.

       G.   S.B. 202 severely burdens all voters, and discriminates
            against Black voters, other voters of color, disabled voters,
            and other historically disenfranchised communities, in
            particular.

       275. State Defendants deny the allegations contained in Paragraph

275.



                                       66
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 68 of 89




       276. State Defendants deny the allegations contained in Paragraph

276.

                 1.    Elimination of mobile voting units

       277. State Defendants deny the allegations contained in the first

sentence of Paragraph 277.    With respect to the quotation in the fourth

sentence of this paragraph, State Defendants respectfully refer the Court to

the cited material for a full and accurate statement of its contents and deny

any allegations inconsistent therewith.    State Defendants lack sufficient

knowledge or information with which to form a belief as to the truth of the

allegations contained in the second through the ninth sentences.         State

Defendants deny the tenth and eleventh sentences in this paragraph and deny

the remaining allegations in this paragraph.

                 2.    Additional requirements for absentee voting

       278. State Defendants deny the allegations contained in the first

sentence of Paragraph 278. State Defendants lack sufficient knowledge or

information with which to form a belief as to the truth of the remaining

allegations contained in this paragraph and deny them on that basis.

       279. State Defendants deny the allegations contained in Paragraph

279.




                                     67
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 69 of 89




      280. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

280 and deny them on that basis.            By way of further response, State

Defendants respectfully refer the Court to the cited survey for a full and

accurate statement of its contents and deny any allegations inconsistent

therewith.

      281. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

281 and deny them on that basis.

      282. State Defendants deny the allegations contained in the first and

second sentences of Paragraph 282. The final sentence contains Plaintiffs’

characterization of the cited study, not allegations of fact, to which no response

is required and is denied on that basis. By way of further response, State

Defendants respectfully refer the Court to the cited study for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

      283. Paragraph      283   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

      284. State Defendants admit that the General Election and Runoff

Elections featured record-setting turnout and an increased use in absentee

                                       68
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 70 of 89




ballots. The remaining allegations in Paragraph 284 contain Plaintiffs’

characterization of voter data, not allegations of fact, to which no response is

required. By way of further response, State Defendants respectfully refer the

Court to the cited data for a full and accurate statement of their contents and

deny any allegations inconsistent therewith.

      285. Paragraph 285 contains Plaintiffs’ characterization of the cited

report, not allegations of fact, to which no response is required. By way of

further response, State Defendants respectfully refer the Court to the cited

data for a full and accurate statement of their contents and deny any

allegations inconsistent therewith. The State Defendants deny the remaining

allegations in this paragraph.

                  3.    Restrictions on distribution of absentee ballots

      286. Paragraph 286 contains Plaintiffs’ characterization of voter data,

not allegations of fact, to which no response is required. By way of further

response, State Defendants respectfully refer the Court to the cited data for a

full and accurate statement of their contents and deny any allegations

inconsistent therewith. State Defendants deny the remaining allegations in

this paragraph.




                                      69
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 71 of 89




       287. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

287 and deny them on that basis.

                  4.    Restrictions on drop boxes

       288. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

288 and deny them on that basis.

       289. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

289 and deny them on that basis.

       290. State Defendants deny the allegations contained in Paragraph

290.

                  5.    Prohibiting provisional ballots cast in the wrong
                        precinct

       291. Paragraph 291 contains Plaintiffs’ legal conclusions and

characterization of SB 202, not allegations of fact, to which no response is

required and is denied on that basis.      By way of further response, State

Defendants respectfully refer the Court to the text of SB 202 for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.



                                      70
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 72 of 89




      292. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

292 and deny them on that basis.

      293.    State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

293 and deny them on that basis.

                   6.   The early voting runoff restrictions

      294. The first sentence of Paragraph 294 contains Plaintiffs’

characterization of SB 202, not allegations of fact, to which no response is

required. By way of further response, State Defendants respectfully refer the

Court to the text of SB 202 for a full and accurate statement of their contents

and deny any allegations inconsistent therewith.       State Defendants lack

sufficient knowledge or information with which to form a belief as to the truth

of the remaining allegations contained in this paragraph and deny them on

that basis.

      295. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

295 and deny them on that basis.




                                      71
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 73 of 89




                  7.     The Line Relief Ban

      296. Paragraph 296 contains Plaintiffs’ characterization of SB 202, not

allegations of fact, to which no response is required and is denied on that basis.

By way of further response, State Defendants respectfully refer the Court to

the text of SB 202 for a full and accurate statement of their contents and deny

any allegations inconsistent therewith.

      297. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

297 and deny them on that basis.

      298. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

298 and deny them on that basis.

                  8.     Criminalizing the acceptance of an absentee
                         ballot for delivery or return

      299. Paragraph 299 contains Plaintiffs’ legal conclusions, not

allegations of fact, to which no response is required and is denied on that basis.

      300. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

300 and deny them on that basis.




                                       72
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 74 of 89




      301. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

301 and deny them on that basis.

                   9.    The cumulative         effects   of   the   challenged
                         provisions

      302. State Defendants admit the that Plaintiffs accurately quote SB

202 in the first sentence of Paragraph 302. The second sentence contains

Plaintiffs’ characterization of the cited report, not allegations of fact, to which

no response is required.      By way of further response, State Defendants

respectfully refer the Court to the cited report for a full and accurate statement

of their contents and deny any allegations inconsistent therewith.           State

Defendants lack sufficient knowledge or information with which to form a

belief as to the truth of the remaining allegations contained in this paragraph

and deny them on that basis.

      303. State Defendants deny the allegations contained in the first

sentence of Paragraph 303. State Defendants lack sufficient knowledge or

information with which to form a belief as to the truth of the remaining

allegations contained in this paragraph and deny them on that basis.

      304. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph



                                        73
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 75 of 89




304 and deny them on that basis. By way of further response, State Defendants

respectfully refer the Court to the cited report for a full and accurate statement

of their contents and deny any allegations inconsistent therewith.

      305. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

305 and deny them on that basis.

      306.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

306 and deny them on that basis.

      307. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

307 and deny them on that basis.            By way of further response, State

Defendants respectfully refer the Court to the cited article for a full and

accurate statement of its contents and deny any allegation inconsistent

therewith.

      308. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

308 and deny them on that basis.            By way of further response, State

Defendants respectfully refer the Court to the cited Tweet for a full and




                                       74
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 76 of 89




accurate statement of its contents and deny any allegation inconsistent

therewith.

      309. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

309 and deny them on that basis.

      310. State Defendants deny that they “allow these lines to occur year

after year.” State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the remaining allegations contained in

Paragraph 310 and deny them on that basis.

      311.   State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

311 and deny them on that basis.

      312. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

312 and deny them on that basis.

      313. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

313 and deny them on that basis.




                                      75
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 77 of 89




       314. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

314 and deny them on that basis.

       315. Paragraph     315   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

       316. Paragraph     316   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

By way of further response, State Defendants respectfully refer the Court to

the cited Official Election Bulletin and statute for a full and accurate

statement of their contents and deny any allegation inconsistent therewith.

       317. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

317 and deny them on that basis.

       318. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

318 and deny them on that basis.

       319. State Defendants deny the allegations contained in Paragraph

319.




                                       76
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 78 of 89




                  10.   S.B. 202’s provisions deny qualified individuals
                        with disabilities an equal opportunity to
                        participate in and benefit from voting

       320. State Defendants deny the allegations contained in Paragraph

320.

       321. State Defendants deny the allegations contained in Paragraph

321.

       322. State Defendants deny the allegations contained in Paragraph

322.

       323. State Defendants deny the allegations contained in Paragraph

323.

                  11.   The disparate burdens and barriers imposed by
                        individual provisions of S.B. 202 and the
                        combined effect of the provisions will
                        exponentially harm voters with multiple and/or
                        intersecting race and disability identities

       324. State Defendants deny the allegations contained in Paragraph

324.

       325. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

325 and deny them on that basis.




                                      77
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 79 of 89




      326. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

326 and deny them on that basis.

      327. Paragraph      327   contains    Plaintiffs’   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required and is denied on that basis.       By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

      328. Paragraph      328   contains    Plaintiffs’   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required and is denied on that basis.       By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

                     FIRST CLAIM FOR RELIEF
            Violation of Section 2 of the Voting Rights Act
                       52 U.S.C. § 10301, et seq.
    (Intentional Racial Discrimination & Discriminatory Results)


      329. State Defendants incorporate their responses to the foregoing

paragraphs as if set forth fully herein.

                                       78
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 80 of 89




       330. Paragraph     330   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

       331. Paragraph     331   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

       332. State Defendants deny the allegations contained in Paragraph

332.

       333. State Defendants deny the allegations contained in Paragraph

333.

                      SECOND CLAIM FOR RELIEF
                 Fourteenth and Fifteenth Amendments
               U.S. Const. amend., XIV, XV; 42 U.S.C. §1983
                    (Intentional Race Discrimination)

       334. State Defendants incorporate their responses to the foregoing

paragraphs as if set forth fully herein.

       335. Paragraph     335   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

       336. State Defendants deny the allegations contained in Paragraph

336.

       337. State Defendants deny the allegations contained in this

paragraph.




                                       79
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 81 of 89




                       THIRD CLAIM FOR RELIEF
                   First and Fourteenth Amendments
                 U.S. Const. amend. XIV; 42 U.S.C. §1983
                  (Undue Burden on the Right to Vote)

       338. State Defendants incorporate their responses to the foregoing

paragraphs as if set forth fully herein.

       339. Paragraph     339   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

       340. State Defendants deny the allegations contained in Paragraph

340.

       341. State Defendants deny the allegations contained in Paragraph

341.

                     FOURTH CLAIM FOR RELIEF
                     Freedom of Speech / Expression
                   U.S. Const. amend. I; 42 U.S.C. §1983

       342. State Defendants incorporate their responses to the foregoing

paragraphs as if set forth fully herein.

       343. Paragraph     343   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

       344. State Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in Paragraph

344 and deny them on that basis.



                                       80
        Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 82 of 89




       345. State Defendants deny the allegations contained in Paragraph

345.

       346. State Defendants deny the allegations contained in Paragraph

346.

       347. Paragraph     347   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

       348. State Defendants deny the allegations contained in Paragraph

348.

                        FIFTH CLAIM FOR RELIEF
              Title II of the Americans with Disabilities Act
                          42 U.S.C. §§ 12131, et seq.
       (Discrimination on the Basis of Disability by State and Local
                            Government Entities)

       349. State Defendants incorporate their responses to the foregoing

paragraphs as if set forth fully herein.

       350. State Defendants deny the allegations contained in the last

sentence of Paragraph 350. The remaining allegations in this paragraph

contain Plaintiffs’ legal conclusions, not allegations of fact, to which no

response is required and are denied on that basis.

       351. State Defendants deny the allegations contained in Paragraph

351.




                                       81
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 83 of 89




       352. Paragraph     352   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

       353. Paragraph     353   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

       354. Paragraph     354   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

       355. Paragraph     355   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

       356. Paragraph     356   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

       357. State Defendants deny the allegations contained in Paragraph

357.

       358. State Defendants deny the allegations contained in Paragraph

358.

       359. State Defendants deny the allegations contained in Paragraph

359.

       360. State Defendants deny the allegations contained in Paragraph

360.




                                       82
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 84 of 89




                   SIXTH CLAIM FOR RELIEF
               Section 504 of the Rehabilitation Act
                          29 U.S.C. § 794
 (Discrimination on the Basis of Disability by Recipients of Federal
                       Financial Assistance)


      361. State Defendants incorporate by reference their responses to the

foregoing paragraphs as if set forth fully herein.

      362. Paragraph      362   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

      363. Paragraph      363   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

      364. Paragraph      364   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

      365. Paragraph      365   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

      366. Paragraph      366   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

      367. Paragraph      367   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

      368. Paragraph      368   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.



                                       83
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 85 of 89




       369. Paragraph     369   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

       370. State Defendants deny the allegations contained in Paragraph

370.

       371. State Defendants deny the allegations contained in Paragraph

371.

                     SEVENTH CLAIM FOR RELIEF
                 Violation of the Civil Rights Act of 1964
                    52 U.S.C. §10101, 42 U.S.C. § 1983

       372. Paragraph     372   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

       373. Paragraph     373   contains    Plaintiffs’   legal   conclusions    and

characterization of SB 202, not allegations of fact, to which no response is

required and is denied on that basis.       By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

       374. Paragraph     374   contains    Plaintiffs’   legal   conclusions    and

characterization of SB 202, not allegations of fact, to which no response is

required and is denied on that basis.       By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

                                       84
       Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 86 of 89




accurate statement of their contents and deny any allegations inconsistent

therewith.

      375. Paragraph      375   contains    Plaintiffs’   legal   conclusions    and

characterization of SB 202, not allegations of fact, to which no response is

required and is denied on that basis.       By way of further response, State

Defendants respectfully refer the Court to the cited authority for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

      376. Paragraph      376   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required and is denied on that basis.

                           PRAYER FOR RELIEF

      The remaining portions of Plaintiffs’ Amended Compliant contain its

request for relief, to which no response is required. To the extent a response

is deemed necessary, State Defendants deny that Plaintiffs are entitled to any

relief whatsoever.




                                       85
Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 87 of 89




Respectfully submitted this 21st day of January, 2022.

                             Christopher M. Carr
                             Attorney General
                             Georgia Bar No. 112505
                             Bryan K. Webb
                             Deputy Attorney General
                             Georgia Bar No. 743580
                             Russell D. Willard
                             Senior Assistant Attorney General
                             Georgia Bar No. 760280
                             Charlene McGowan
                             Assistant Attorney General
                             Georgia Bar No. 697316
                             State Law Department
                             40 Capitol Square, S.W.
                             Atlanta, Georgia 30334

                             /s/ Gene C. Schaerr
                             Gene C. Schaerr*
                             Special Assistant Attorney General
                             Erik Jaffe*
                             H. Christopher Bartolomucci*
                             Brian J. Field*
                             Riddhi Dasgupta*
                             Joshua J. Prince*
                             SCHAERR | JAFFE LLP
                             1717 K Street NW, Suite 900
                             Washington, DC 20006
                             (202) 787-1060
                             gschaerr@schaerr-jaffe.com
                             *Admitted pro hac vice

                             Bryan P. Tyson
                             Special Assistant Attorney General
                             Georgia Bar No. 515411
                             btyson@taylorenglish.com

                               86
Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 88 of 89




                            Bryan F. Jacoutot
                            Georgia Bar No. 668272
                            bjacoutot@taylorenglish.com
                            Loree Anne Paradise
                            Georgia Bar No. 382202
                            lparadise@taylorenglish.com
                            Taylor English Duma LLP
                            1600 Parkwood Circle
                            Suite 200
                            Atlanta, Georgia 30339
                            (678) 336-7249
                            Counsel for State Defendants




                              87
      Case 1:21-mi-55555-JPB Document 54 Filed 01/21/22 Page 89 of 89




                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing document has been prepared in Century Schoolbook 13, a font and

type selection approved by the Court in L.R. 5.1(B).

                                          /s/ Gene C. Schaerr
                                          Gene C. Schaerr
